
LEHAN, Judge.
Appellant was adjudicated to be a delinquent child for having committed grand theft. We affirm.
Appellant, while a student at Cobb Middle School, was charged with having stolen school lunch tickets valued at over $3,000. He contends that the tickets, which were found from a search of his school locker, should have been suppressed as the fruits of an unlawful search. We conclude that the search was lawful because it was reasonable under all the circumstances. There were reasonable grounds for suspecting that the search would produce evi*32dence that he had been violating the law, and the scope of the search was reasonably related to the circumstances. See New Jersey v. T.L.O., 469 U.S. 325, 105 S.Ct. 733, 83 L.Ed.2d 720 (1985); § 232.256, Pla.Stat. (1985).
Appellant was suspected of having stolen a clock from a school office. Witnesses placed him in the office during the time period in which the clock was stolen. He had been seen with a pot of honey which was concealed in his clothing and which had been on the top of the teachers’ microwave oven. The tickets fell out of his locker when it was opened by defendant at the direction of the Assistant Principal.
Affirmed.
DANAHY, C.J., and HALL, J., concur.
